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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 11
    In re:
                                                                  Case No. 23-11240 (TMH)
    AMERIFIRST FINANCIAL, INC.,1 et al.,
                                                                  (Jointly Administered)

                                    Debtors.                      Objection Deadline:
                                                                  January 30, 2024, at 4:00 p.m. (ET)

SUMMARY OF FIRST COMBINED MONTHLY APPLICATION OF ISLANDDUNDON LLC
    FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
  REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISER TO THE OFFICIAL
       COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
             FROM OCTOBER 5, 2023, TO NOVEMBER 30, 2023
Name of Applicant:                                    IslandDundon LLC

Authorized to provide services to:                    The Official Committee of Unsecured Creditors

Petition Date:                                        August 24, 2023

Date of Retention:                                    November 14, 2023, with effect October 5, 2023

Period for which compensation and
reimbursement are sought:                             October 5, 2023 through November 30, 2023

Amount of compensation sought as
actual, reasonable, and necessary:                    $449,242.00 (80% = $359,393.60)

Amount of expense reimbursement sought
as actual, reasonable, and necessary:                 $4,714.11

This is a(n):                  X    monthly                    interim                final application




1
      The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
      Phoenix 1040 LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst
      Financial, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases
      is 1550 McKelleps Road, Suite 117, Mesa, Arizona 85203.
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                   PRIOR FEE APPLICATIONS SUBMITTED TO DATE

Date Filed   Period Covered   Requested Fees        Requested        Approved Fees   Approved
                                                    Expenses                         Expenses
  None            n/a               n/a                 n/a                n/a         n/a




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                 COMPENSATION BY PROFESSIONAL FOR THE PERIOD
                   OCTOBER 5, 2023 THROUGH NOVEMBER 30, 2023



                                                    Billable     Hourly Rate
              Name                Position                                           Total Fees
                                                    Hours         (Average)
Matthew Dundon             Principal                   85.40 $          856.42 $       65,993.50

Robert Lieber              Sr. Managing Director         1.70           890.00          1,513.00

Joe Cashel                 Managing Director          309.90            777.01        232,576.00

Tabish Rizvi               Managing Director             1.20           790.00            948.00

Steven Landgraber          Managing Director           19.70            790.00         15,563.00

Victor Baev                Senior Adviser             100.50            790.00         79,395.00

Scott Woods                Director                    53.50            700.00         37,450.00

Greg Hill                  Associate Director          16.70            550.00          9,185.00

Alexander Zahringer        Associate                   18.91            350.00          6,618.50

TOTAL:                                                607.51                     $ 449,242.00
Blended Hourly Rate:                                                             $        739.48
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                           COMPENSATION BY PROJECT CATEGORY
                            OCTOBER 5, 2023 TO NOVEMBER 30, 2023


Project
                            Project Category Description                    Total Hours      Total Fees
 Code
   BA     Business analysis                                                        271.80 $ 203,703.00

   CA     Case Administration                                                        6.51       4,221.50

  CLM     Claims Analysis                                                           26.50      21,035.00

  COM     Committee Member/Professional Meetings & Communications                   97.60      78,177.00

  DPM     Debtor Professional and Client Meetings                                   27.90      21,801.00

 DLPM Debtor/Lender Professional and Staff Meetings                                 12.80      10,662.00

  INV     Investigations                                                            23.00      18,380.00

 ORET Other Professionals' Retention and Fee Applications                            7.10       5,597.00

  PLN     Plan and Disclosure Statement                                             26.90      21,894.00

  RET     Retention and Fee Applications                                             4.40       3,566.00

   SP     Sales Process                                                             49.50      37,948.00

 TRVL Non-Working Travel (at 50%)                                                   53.50      22,257.50

Total Fees:                                                                                 $ 449,242.00




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                      Chapter 11
    In re:
                                                      Case No. 23-11240 (TMH)
    AMERIFIRST FINANCIAL, INC.,1 et al.,
                                                      (Jointly Administered)

                                    Debtors.          Objection Deadline:
                                                      January 30, 2024, at 4:00 p.m. (ET)

      FIRST COMBINED MONTHLY APPLICATION OF ISLANDDUNDON LLC FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
    REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISER TO THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD OCTOBER 5, 2023
                      THROUGH NOVEMBER 30, 2023

             IslandDundon LLC (“IslandDundon” or “Applicant”), as financial adviser to the Official

Committee of Unsecured Creditors of AmeriFirst Financial, Inc., et al. (the “Committee”), hereby

submits this monthly application (the “Fee Application”) pursuant to the provisions of sections

330 and 331 of Title 11, United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal

Rules of Bankruptcy Procedure, Rule 2016-2 of the Local Rules of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”), and the United States Trustee Guidelines

for Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

U.S.C. §330 issued by the Executive Office for United States Trustees (the “Guidelines”). Pursuant

to this Fee Application, IslandDundon seeks allowance of compensation for professional services

IslandDundon performed during the period October 5, 2023 through November 30, 2023 (the “Fee

Period”) in the amount of $449,242.00 less a twenty percent (20%) holdback in the amount of

$89,848.40, for an interim payable fee request of $359,393.60. A total of $4,714.11 in expenses


1
      The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
      Phoenix 1040 LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst
      Financial, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases
      is 1550 McKelleps Road, Suite 117, Mesa, Arizona 85203.


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were recorded during the Fee Period. In support of this Application, IslandDundon respectfully

represents as follows:

                                                Background

        1.       On August 24, 2023 (the “Petition Date”), the Debtors each filed a voluntary

petition with this Court under chapter 11 of the Bankruptcy Code. The Debtors are liquidating

their businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. No trustee or examiner has been appointed in these cases.

        2.       The United States Trustee (“U.S. Trustee”) on September 15, 2023, appointed the

Committee to represent the interests of all unsecured creditors in these cases pursuant to section

1102 of the Bankruptcy Code and publicly disclosed the membership of that Committee on

September 15, 2023 [Docket No.’s 122].2 No trustee or examiner has been appointed in these

Chapter 11 Cases.

        3.       On September 21, 2023, the Committee selected Morris, Nichols, Arsht & Tunnell

LLP (“MNAT”) and Kasowitz Benson Torres LLP (“Kasowtiz”) as co-counsel in connection with

these Chapter 11 Cases, and on October 5, 2023 (the “Retention Date”), the Committee selected

IslandDundon LLC to serve as its financial advisor, each subject to Court approval. On November

7, 2023, the Committee selected Glenn Agre Bergman & Fuentes LLP as special litigation counsel,

also subject to Court approval.

        4.       On September 27, 2023, the Court entered the Order Establishing Procedures For

Interim Compensation And Reimbursement of Expenses of Professionals [Docket No. 164] (the

“Interim Compensation Order”).




2
 The Committee consists of the following three members: (i) Kristen Rahn; (ii) Mortgageshots, LLC;
and (iii) Paragon Micro, Inc. as its chair.


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       5.      On November 14, 2023, upon prior application of the Committee, the Court entered

the Order Authorizing and Approving the Retention of IslandDundon LLC as Financial Adviser to

Effective as of October 5, 2023 [Docket No. 429]. The Court on other dates approved the retentions

of MNAT and Glen Agree, and denied approval of the retention of Kasowtiz.

                              Compensation Paid and Its Source

       6.      All services for which compensation is requested by IslandDundon were performed

for or on behalf of the Committee.

       7.      IslandDundon has received no payment and no promises for payment from any

source for services rendered or to be rendered in any capacity whatsoever in connection with the

matters covered by this Application.       There is no agreement or understanding between

IslandDundon and any other person for the sharing of compensation to be received for services

rendered in these Chapter 11 Cases.

       8.      The fee statement for the Fee Period is attached hereto as Exhibit A. This statement

contains daily time logs describing the time spent by each professional for the Fee Period. To the

best of IslandDundon’s knowledge, this Application complies with sections 330 and 331 of the

Bankruptcy Code, the applicable Bankruptcy Rules, Local Rule 2016-2, applicable Third Circuit

law and the Compensation Procedures Order.

       9.      Details for actual and necessary expenses and daily logs of expenses incurred by

IslandDundon during the Fee Period are attached hereto as Exhibit B.

                                Summary of Services Rendered

       10.     The IslandDundon professionals who have mainly rendered professional services

in this Chapter 11 Case are as follows: Matthew J. Dundon, Joe Cashel, Steven J. Landgraber,

Victor Baev, and Scott Woods.




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        11.      IslandDundon, by and through the above-named persons, has prepared and/or

assisted in the preparation of retention applications and orders submitted to the Court for

consideration, advised the Committee on a regular basis with respect to various matters in

connection with this Chapter 11 Case and has performed all necessary professional services, which

are described and narrated in detail hereinafter.

        12.      To provide a meaningful summary of IslandDundon’s services provided on behalf

of the Committee, IslandDundon has established, in accordance with its internal billing procedures,

certain subject project categories in connection with this Chapter 11 Case. The following chart is

a summary of the fees and hours billed for each project category in the Fee Period:

 Project
                             Project Category Description                    Total Hours      Total Fees
  Code
   BA      Business analysis                                                        271.80 $ 203,703.00

   CA      Case Administration                                                        6.51       4,221.50

  CLM      Claims Analysis                                                           26.50      21,035.00

  COM      Committee Member/Professional Meetings & Communications                   97.60      78,177.00

  DPM      Debtor Professional and Client Meetings                                   27.90      21,801.00

 DLPM Debtor/Lender Professional and Staff Meetings                                  12.80      10,662.00

  INV      Investigations                                                            23.00      18,380.00

 ORET Other Professionals' Retention and Fee Applications                             7.10       5,597.00

  PLN      Plan and Disclosure Statement                                             26.90      21,894.00

  RET      Retention and Fee Applications                                             4.40       3,566.00

   SP      Sales Process                                                             49.50      37,948.00

 TRVL Non-Working Travel (at 50%)                                                    53.50      22,257.50

Total Fees:                                                                                  $ 449,242.00




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       13.       The nature of work performed by the Applicant during the Fee Period is fully set

forth in Exhibit A. The reasonable and standard value of the services the Applicant rendered for

and on behalf of the Committee during the Fee Period is $449,242.00. Accordingly, IslandDundon

seeks to be compensated $449,242.00 for the fees incurred during the Fee Period less a twenty

percent (20%) holdback in the amount of $89,848.40, for an interim payable fee request of

$359,393.60. Additionally, IslandDundon seeks reimbursement of $4,714.11 for expenses

incurred during the Fee Period.

                                          Valuation of Services

       14.       IslandDundon’s professionals expended a total of 607.51 hours in connection with

this matter during the Fee Period, as follows:

                                                          Billable     Hourly Rate
              Name                   Position                                              Total Fees
                                                          Hours         (Average)
Matthew Dundon                Principal                      85.40 $          856.42 $       65,993.50

Robert Lieber                 Sr. Managing Director            1.70           890.00          1,513.00

Joe Cashel                    Managing Director             309.90            777.01        232,576.00

Tabish Rizvi                  Managing Director                1.20           790.00            948.00

Steven Landgraber             Managing Director              19.70            790.00         15,563.00

Victor Baev                   Senior Adviser                100.50            790.00         79,395.00

Scott Woods                   Director                       53.50            700.00         37,450.00

Greg Hill                     Associate Director             16.70            550.00          9,185.00

Alexander Zahringer           Associate                      18.91            350.00          6,618.50

TOTAL:                                                      607.51                     $ 449,242.00
Blended Hourly Rate:                                                                   $        739.48




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       15.     These are IslandDundon’s normal hourly rates for work of this character. The

reasonable value of the services rendered by IslandDundon to the Committee during the Fee Period

is $449,242.00.

       16.     In accordance with the factors enumerated in Section 330 of the Bankruptcy Code,

it is respectfully submitted that the amount requested by IslandDundon is fair and reasonable given

(a) the complexity of this case, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services and (e) the costs of comparable services other than in a

case under this title. Moreover, IslandDundon has reviewed the requirements of Local Rule 2016-

2 and believes that this Application complies with that Rule.

       WHEREFORE, IslandDundon respectfully requests that the Court authorize that allowance

be made to IslandDundon with respect to a) the sum of $449,242.00 for the fees incurred during

the Fee Period, less a twenty percent (20%) holdback in the amount of $89,848.40, for a payable

fee request of $359,393.60 as compensation for necessary professional services rendered and b)

the sum of $4,714.11 for the expenses incurred during the Fee Period; and that such sums be

authorized for payment and for such other and further relief as this Court may deem just and proper.


Dated: January 9, 2024                                       ISLANDDUNDON LLC

                                                      /s/ Matthew J. Dundon
                                                      Matthew J. Dundon
                                                      10 Bank Street
                                                      Suite 1100
                                                      White Plains, NY 10606
                                                      Telephone: (914) 341-1188
                                                      Email: md@IslandDundon.com

                                                      Financial Advisers for the Official
                                                      Committee of Unsecured Creditors




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